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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  ) Case No. 1:21-cr-689-ABJ
                                                  )
                        v.                        )
                                                  )
 THOMAS HAMNER,                                   )
                                                  )
        Defendant.                                )
                                                  )

    HAMNER’S RESPONSE TO THE GOVERNMENT’S MOTION TO CONTINUE
                       STATUS CONFERENCE

       The government has filed a motion to continue the status conference set for March 16,

2023 and to toll the Speedy Trial Act. ECF No. 44. Hamner’s counsel has been in trial since

December 19, 2022 in United States v. Nordean, 21-cr-175-TJK. He does not anticipate trial

concluding before April. Hamner does not oppose the government’s motion.

Dated: March 14, 2023                               Respectfully submitted,


                                                    _/s/ Nicholas D. Smith_______
                                                    Nicholas D. Smith, D.C. Bar No. 1029802
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                                                    New York, NY 10010
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                                                    Counsel to Thomas Hamner


                                     Certificate of Service

       I hereby certify that on the 14th day of March, 2023, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):




                                                                                                1
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       Counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].

                                                   _/s/ Nicholas D. Smith_______
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